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                   EXHIBIT
                    ONE
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From:            Moran, John S.
To:              "Fani.WillisDA@fultoncountyga.gov"
Cc:              "nathan@wadeandcampbell.com"; "FMcDonald@fultoncountyga.gov"; "Will.Wooten@fultoncountyga.gov";
                 "Adam.Ney@fultoncountyga.gov"; George J. Terwilliger III (gterwilliger@mcguirewoods.com); Michael Francisco
                 (mfrancisco@mcguirewoods.com); Englert, Joseph M.
Subject:         Georgia v. Meadows, No. 1:23-cv-03621-SCJ (N.D. Ga.)
Date:            Wednesday, August 16, 2023 1:36:33 PM
Attachments:     20230815 Georgia v. Meadows - Notice of Removal.pdf
                 20230815 Georgia v. Meadows - Notice of Removal - Ex 1 - Indictment.pdf


Ms. Willis,

On behalf of our client, Mark Meadows, we wanted to reach out and see if you or an appropriate
representative from your team would be available for a call this afternoon. Yesterday, Mr. Meadows
removed the criminal proceeding your office initiated against him to the U.S. District Court for the
Northern District of Georgia. (It appears that the clerk already entered you on the docket and
provided you a copy by e-mail, but I am attaching a copy of the notice and Exhibit 1 for
convenience.)

We intend to move the Court “promptly” to determine that removal should be permitted and to
notify the state court, as provided in 28 U.S.C. § 1455(b)(5), or in the alternative, to stay state
criminal proceedings against Mr. Meadows pending consideration of his notice of removal. We
would welcome the opportunity to confer with you on the motion, including in particular about a
briefing schedule and hearing date.

I should also note that Danny Griffin spoke with Mr. Wade earlier today to request an opportunity to
confer timing and logistics in connection with the state court proceeding. Mr. Wade suggested that
Mr. Griffin call on Monday morning at 10:30 AM to have that discussion. We would welcome the
opportunity to confer on those issues sooner but will otherwise wait for Monday morning.

Regards,

John S. Moran
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